
FRANK, Judge.
GTE Directories Corporation and General Telephone Company of Florida sought and procured a partial summary judgment on Count I of their complaint which alleged that Tel-Ad Advisors, Inc. had intentionally interfered with certain contracts. Tel-Ad’s appeal involves four interrelated issues. We have considered each point and reverse. Our review of the record discloses that genuine issues of material fact exist; the entry of a partial summary judgment in this case was improper. Gibbs v. Brighton Condominium Association, Inc., 458 So. 2d 432 (Fla. 4th DCA 1984).
Reversed and remanded.
CAMPBELL, A.C.J., and HALL, J., concur.
